AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    Middle District
                                                 __________         of Pennsylvania
                                                             District  of __________

                  United States of America
                             v.                                   )
                                                                  )        Case No.    4:23-CR-00162
                       MATHEW LAMPI                               )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      MATHEW LAMPI                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information       u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  CONSPIRACY (18:371)
  (1)
  INTERSTATE TRANSPORT OF STOLEN GOODS, AID AND ABET (18:2314)
  (2)




Date:         06/13/2023                                                            V&"JLFZ
                                                                                         Issuing officer’s signature

City and state:       Williamsport, Pennsylvania                               Peter J. Welsh, Clerk by E. Aikey, deputy
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
